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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Eastern District of New York

ALBERTO RODRIGUEZ,

Plaintiff(s)
V.

MAGIC CAR WASH & LUBE LLC, MARY AGUILAR
and MOISES MENDEZ, as individuals,

Civil Action No. 25-cv-03425-KAM-JMW

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Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) MAGIC CAR WASH & LUBE LLC, 182 Henry St, Hempstead NY 11550
MARY AGUILAR, 182 Henry St, Hempstead NY 11550
MOISES MENDEZ, 182 Henry St, Hempstead NY 11550
Service via Secretary of State:
MAGIC CAR WASH & LUBE LLC (DOS ID: 5539934)
80 State Street, Albany, NY 12207

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.

Roman Avshalumov, Esq.
80-02 Kew Gardens Road, Suite 601
Kew Gardens, NY 11415

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Date

6/20/2025 SEG Sandra Felpuerae

Signature of Clerk or Deputy Clerk

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) ; Or

©} I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

C1 Iserved the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
1 Ireturned the summons unexecuted because or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

